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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

    v.                                           Case No. 21-cr-6-TJK

 DOUGLAS AUSTIN JENSEN,

     Defendant.


                     GOVERNMENT’S SENTENCING SUPPLEMENT

         In support of its sentencing recommendation in this case, the United States of America

respectfully submits the attached statement from U.S. Capitol Police Inspector Thomas Loyd.



                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            UNITED STATES ATTORNEY


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Good Morning Your Honor,

My name is Inspector Tom Loyd from the United States Capitol Police.

Thank you for the opportunity to address the Court.

The January 6 riot changed my life forever. The Legislative Branch of Government had not seen an attack
like that since August 24, 1814 when the British broke into the United States Capitol Building and burned it.

I am responsible for the safety and security of the United States Capitol Building on a daily basis. The people
who work in the building are my colleagues to include the 350 police officers assigned to me. The mob
attacked my colleagues on January 6. The riot was an intentional, violent attack against my officers, starting
at Peace Circle. We did not attack the mob, the mob attacked us. There were many leaders of the mob
throughout the day. The Defendant in this case led the mob inside the Senate Wing of the United States
Capitol Building up to the Main Entrance to the Senate Floor, threatening the entire United States Senate,
the Vice President and my personnel.

Thankfully, the Defendant was able to walk out of the Capitol Building on January 6. He can thank Officer
Goodman. If Officer Goodman had not led the Defendant and the rest of the mob away from the Senate
Lobby and an attempt was made to breach those doors, there would have been tremendous bloodshed.
Several rioters would have been carried out of the building if not for the quick thinking of Officer Goodman.

Many of my officers were not as lucky as the Defendant. Several of my officers had to be carried out of the
Capitol Building on January 6 due to injuries. Some have returned to a Full Duty Status, others are in a
Restricted Duty Status, and a few were not permitted to return to at all due to the severity of their injuries.

Two Capitol Police Officers perished as a result of the riot. Officer Brian Sicknick faithfully served the
United States Capitol Police for 13 years. He fought valiantly for several hours on January 6. He died
suddenly at 830pm while returning to the office in the United States Capitol Building, not far from where the
Defendant led the mob earlier in the day. His body survived an additional day because his fellow officers
worked so hard to keep him alive so his family could say goodbye in person on January 7. Despite the
official medical report, there was nothing natural about the way Officer Sicknick died. He was 42 years old.
Officer Howie Liebengood perished two days later when he took his own life. It is tough enough to bury any
of my colleagues, but when the cause is suicide, it makes it that much more heartbreaking. Officer
Liebengood faithfully served the Department for 16 years. He was 51 years old.


The ramifications of January 6 will affect all of my personnel for the rest of their lives. As a result of the riot,
20 percent of my team separated from the Department. The mob leaders for January 6 should be ashamed.

Thank you for the Court’s time Your Honor.
